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  16
                              UNITED STATES DISTRICT COURT
  17
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  18
  19
     VANESSA BRYANT, a California                    CASE NO. 2:20-cv-09582-JFW-E
  20 resident,
                                                     DEFENDANTS’ OPPOSITION TO
  21           Plaintiff,                            PLAINTIFF’S MOTION TO
                                                     MODIFY THE COURT’S
  22              v.                                 SCHEDULING ORDER
  23                                                 Judge:    Hon. John F. Walter
     COUNTY OF LOS ANGELES, a                        Date:     June 7, 2021
  24 public entity, et al.,
                                                     Time:     1:30 PM
  25               Defendants.                       Crtrm.:   7A (First Street Courthouse)
  26                                                 Assigned to Hon. John F. Walter and
                                                     Magistrate Judge Charles F. Eick
  27
  28
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   1 I.      INTRODUCTION
   2         Plaintiff Vanessa Bryant (“Plaintiff”) does not need a six-month push of all
   3 deadlines to litigate this straightforward case. The material facts are not in dispute.
   4 Plaintiff is unnecessarily seeking to protract and multiply the proceedings.
   5         The First Amended Complaint (“FAC”) asserts claims for violation of the
   6 Fourteenth Amendment (42 U.S.C. § 1983), negligence, and invasion of privacy.
   7 The basis for these claims is that the Defendants showed accident site photographs
   8 to other government personnel and to a friend who is a bartender in Norwalk. The
   9 County has given Plaintiff documents explaining exactly what happened, when, and
  10 why. It is undisputed that only government personnel and one friend saw the
  11 photographs in question. There has been no public dissemination—nothing in the
  12 media, nothing on the Internet.
  13         Plaintiff alleges that this: (i) deprived Plaintiff of substantive due process
  14 rights; (ii) constituted a breach of a duty owed Plaintiff; and (iii) violated Plaintiff’s
  15 right to privacy. On the undisputed facts, there are no viable claims.
  16         The cases Plaintiff relies on involve public dissemination of pictures of
  17 human remains, and that did not occur here. In Marsh v. County of San Diego, 680
  18 F.3d 1148 (9th Cir. 2012), the court held that public distribution of post-mortem
  19 pictures of a child victim to a newspaper could give rise to a cognizable injury. Id.
  20 at 1158-60 (affirming summary judgment for defendants because there was no
  21 viable Monell claim and because qualified immunity protected the retired prosecutor
  22 who gave the photographs to the media). In Catsouras v. Department of California
  23 Highway Patrol, 181 Cal. App. 4th 856 (2010), as modified on denial of reh’g
  24 (Mar. 1, 2010), the court held that highway patrol officers have a duty “not to place
  25 decedent’s death images on the Internet for . . . lurid titillation.” Id. at 886 (officers
  26 who distributed the photographs had qualified immunity).
  27         There is no public dissemination and no “lurid titillation” here. For Plaintiff
  28 to prevail in this case, the Court would have to extend the law to encompass first
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   1 responders sharing accident site photographs with each other, and one instance
   2 where a deputy showed photographs on his device to a friend. This would be new
   3 law and would trigger qualified immunity.
   4         Against this backdrop, Plaintiff’s motion to amend the scheduling order is not
   5 well taken. Plaintiff does not need, nor is she entitled to, over 50 depositions. The
   6 parties know who took accident site photographs, who they were shared with, and
   7 when they were deleted. That is what this case is about. It is not about what
   8 Plaintiff perceives to be inadequacies in the County’s internal investigations and
   9 personnel decisions regarding the photographs.
  10         The County has been transparent and forthcoming with Plaintiff. In
  11 November 2020, the County sent Plaintiff a draft forensic protocol so the parties
  12 could conduct a forensic examination of phones and confirm that all photographs
  13 had been deleted. In December 2020, the County worked with Plaintiff to produce a
  14 key Internal Affairs Bureau Report (“IAB Report”), in a way that did not violate the
  15 privacy rights of the individuals identified, as quickly as it could. In March 2021,
  16 when Plaintiff in a related case asked for documents from the Los Angeles County
  17 Fire Department (“LACFD”), the County produced LACFD’s investigation reports
  18 to Plaintiff—even though she had not served discovery requests to LACFD.
  19         The County has now produced over 20,000 pages of documents to Plaintiff.
  20 Plaintiff, meanwhile, has still not agreed to a forensic protocol, has produced zero
  21 documents, has objected to the County’s written discovery, and has served only a
  22 handful of deposition notices. Plaintiff has had the IAB Report since January 6,
  23 2021. She has had the LACFD investigation reports since March 22, 2021. In other
  24 words, Plaintiff has known the key, undisputed facts in this case for months.
  25         It is now May 17, 2021, and she has yet to conduct the depositions of any of
  26 the involved personnel. Instead, Plaintiff has dedicated countless hours to
  27 meaningless discovery disputes and posting recklessly about the Defendants on
  28 social media—all while taking the position that her 50 depositions cannot begin
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   1 until she has every single document in the County’s possession. That is not
   2 diligence. There is no basis for modifying the scheduling order.
   3          The parties have four months to complete discovery. That is enough.
   4 Defendants want their day in court.
   5 II.      LEGAL STANDARD
   6          Pretrial scheduling orders may be modified for “good cause.” Fed. R. Civ. P.
   7 16(b)(4). This “‘good cause’ standard primarily considers the diligence of the party
   8 seeking the amendment” and the “moving party’s reasons for seeking modification.”
   9 Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992) (holding
  10 that plaintiff had not established good cause).
  11          “[T]o demonstrate diligence, the moving party is required to show: (1) that it
  12 was diligent in assisting the Court in creating a workable Rule 16 scheduling order;
  13 (2) that its noncompliance with the scheduling order’s deadline occurred or will
  14 occur notwithstanding diligent efforts to comply because of ‘the development of
  15 matters which could not have been reasonably foreseen or anticipated at the time of
  16 the Rule 16 scheduling conference;’ and (3) that it was diligent in seeking
  17 amendment of the scheduling order once it became apparent it could not comply
  18 with the order.” MHF Zweite Acad. Film GmbH & Co. KG v. Warner Bros Entm’t
  19 Inc., No. CV 12-2381-JFW (JCx), 2012 WL 13012677, at *1 (C.D. Cal. Aug. 13,
  20 2012) (Walter, J.) (citation omitted).
  21 III.     BACKGROUND
  22          A.     The January 26, 2020 Accident
  23          On the morning of Sunday, January 26, 2020, a helicopter crashed with
  24 Kobe and Gianna Bryant (among others) onboard. In the aftermath of the crash,
  25 Sheriff Villanueva met with the victims’ families (including Plaintiff) and told them
  26 his deputies were securing the crash site. NTSB, FBI, Medical Examiner-Coroner,
  27 LACFD, and LASD were all on site. Media outlets reported that Kobe Bryant had
  28 died, and onlookers were rushing to the crash site.
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   1         Upon learning that accident site photographs might have been shared
   2 internally, the County and its departments made decisions about how to (i) prevent
   3 dissemination of the photographs beyond their official use; and (ii) handle the
   4 related personnel management issues. The Sheriff, in particular, told his deputies to
   5 delete all photographs. To date, no accident site photographs depicting human
   6 remains have been publicly disseminated.
   7         B.    Procedural History
   8         On September 17, 2020, Plaintiff filed a complaint in Los Angeles Superior
   9 Court. On October 19, 2020, the County removed the case to this Court. [Dkt. 1.]
  10 On November 18, 2020, the Court dismissed the Doe Defendants. [Dkt. 28.] On
  11 December 14, 2020, the Court granted the parties’ stipulation to continue Plaintiff’s
  12 deadlines to join parties and amend her Complaint. [Dkt. 37.]
  13         On December 28, 2020, the Court granted the County’s motion to dismiss
  14 Sheriff Villanueva from the case, holding: “It defies common sense that Sheriff
  15 Villanueva’s instruction to delete the photos would somehow increase the risk of
  16 public dissemination of those very same photos or that Sheriff Villanueva’s conduct
  17 would cause Plaintiff additional emotional distress. [Dkt. 46.]
  18         On March 17, 2021, Plaintiff filed the FAC. [Dkt. 54.] The FAC asserts
  19 claims for violation of the Fourteenth Amendment (42 U.S.C. § 1983), negligence
  20 and invasion of privacy. The FAC also added LACFD and four deputies (“Deputy
  21 Defendants”) as defendants. [Id.] The Court denied the County’s motion to keep
  22 the Deputy Defendants’ names sealed. [Dkt. 53.] Plaintiff posted the Deputy
  23 Defendants’ names online, and they were subjected to harassment and threats.
  24 (Declaration of Mira Hashmall (“Hashmall Decl.”) ¶ 4, Ex. A.)
  25         C.    Overview Of Discovery
  26               1.     The Forensic Protocol
  27         Sheriff’s Villanueva’s instruction to delete accident site photographs was
  28 public knowledge before Plaintiff’s lawsuit was filed (and was part of Plaintiff’s
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   1 initial complaint). (Hashmall Decl. ¶ 5.) Nonetheless, the County understood that
   2 Plaintiff wanted to confirm that all accident site photographs depicting human
   3 remains had been deleted. (Id.) To facilitate that process, the County sent Plaintiff
   4 a draft forensic examination protocol, to facilitate examination of phones and protect
   5 the privacy rights of the involved personnel, on November 16, 2020. (Id. Ex. B.)
   6 Plaintiff never provided comments, despite the County raising the issue at least once
   7 a month since sending the protocol. (Id. ¶ 6 Ex. C.)
   8                    2.     The IAB Report
   9              Labor unions raised privacy and confidentiality objections about the potential
  10 production of the IAB Report. (Hashmall Decl. ¶ 7.) The County recognized the
  11 importance of the report and worked with Plaintiff to get a motion to compel ruled
  12 on promptly. [See Dkt. 34 (“In the unique context of this litigation, Defendants
  13 believe that disclosure of the IA Report will help assuage Plaintiff’s concerns.
  14 Defendants are also bound, however, by their obligations to sworn personnel.”).]
  15 Plaintiff has had the IAB Report since January 6, 2021. (Hashmall Decl. ¶ 7.)
  16                    3.     Written Discovery
  17              Plaintiff has served 126 RFPs. Defendants have completed seven document
  18 productions containing 29,941 pages of documents. (Hashmall Decl. ¶ 9.)
  19              Defendants have also responded to every interrogatory served by Plaintiff.
  20 (Id. ¶ 10.) Based on Defendants’ interrogatory responses, Plaintiff knows that only
  21 one non-governmental individual saw accident site photographs depicting human
  22 remains. (Id.) Because of how Plaintiff phrased her interrogatories, responses
  23 include names of first responders who took accident site photographs not depicting
  24 human remains and those who shared accident site photographs with other personnel
  25 and agencies (like NTSB) for official purposes. (Id.) Plaintiff knows there has
  26 been no public dissemination.
  27                    4.     Depositions
  28              Plaintiff has had the IAB Report since January 6, 2021, and the LACFD
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   1 investigation reports since March 22, 2021. (Hashmall Decl. ¶¶ 7-8.) Plaintiff has
   2 noticed five depositions. (Id. ¶ 11.) The parties have completed two and have two
   3 more scheduled for May 20 and June 3, 2021. (Id.) Plaintiff has not noticed others.
   4                    5.     Plaintiff’s Meet And Confer Efforts
   5              Plaintiff’s meet and confer efforts in this case have bordered on the absurd.
   6 Topics include: (i) arguing over the County’s general objections and preliminary
   7 statement; (ii) questioning each of the County’s specific objections, even when the
   8 County was providing substantive responses and not withholding information;
   9 (iii) asking the County to add information Plaintiff already knew about to
  10 interrogatory responses; (iv) insisting the parties put together a “document
  11 production protocol” even after Defendants had completed seven document
  12 productions; and (v) stalling on said “document production protocol” for weeks.
  13 (Hashmall Decl. ¶ 12.)
  14                    6.     Scheduling Order Deadlines
  15              Defendants have been leading the charge to complete discovery and comply
  16 with this Court’s scheduling order. (Hashmall Decl. ¶ 13.) For example, Plaintiff
  17 gave Defendants the runaround for months on scheduling a mediation in advance of
  18 the June 7, 2021 deadline. (Id.) Defendants ended up having to reserve and then
  19 cancel mediations due to Plaintiff’s refusal to respond to email requests. (Id.)
  20                    7.     Plaintiff’s Discovery Responses
  21              In Plaintiff’s own discovery responses, she has taken strikingly hypocritical
  22 positions, such as (i) Plaintiff does not need to produce documents until Defendants
  23 have completed all their document productions; (ii) contention interrogatories are
  24 premature and inappropriate; (iii) separate defendants cannot serve their own
  25 discovery (even though Plaintiff served each defendant with discovery); and
  26 (iv) Defendants are not entitled to any of Plaintiff’s communications relating to her
  27 very public comments on this litigation. (Hashmall Decl. ¶ 14.)
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   1 IV.          ARGUMENT
   2              A.    This Lawsuit Does Not Warrant Scorched Earth Discovery
   3              The FAC asserts claims for violation of the Fourteenth Amendment (42
   4 U.S.C. § 1983), negligence and invasion of privacy. The claims are based on two
   5 cases: In Marsh v. County of San Diego, 680 F.3d 1148 (9th Cir. 2012), the court
   6 held that widespread public distribution of post-mortem pictures of a child victim
   7 could give rise to a cognizable injury. Id. at 1158-60 (affirming partial summary
   8 judgment for defendants because there was no viable Monell claim and because
   9 qualified immunity protected the retired prosecutor who gave the photographs to the
  10 media). In Catsouras v. Department of California Highway Patrol, 181 Cal. App.
  11 4th 856 (2010), as modified on denial of reh’g (Mar. 1, 2010), the court held that
  12 highway patrol officers have a duty “not to place decedent’s death images on the
  13 Internet for . . . lurid titillation.” Id. at 886 (officers who distributed the photographs
  14 had qualified immunity).
  15              This case is nothing like Marsh and Catsouras. It is undisputed that the
  16 photographs at issue here were not given to the media and were not posted on the
  17 Internet. There is no evidence they were publicly disseminated. It would require
  18 the making of new law—beyond the holdings in Marsh and Catsouras—to find the
  19 Defendants liable here (and if this were to occur, they would still be entitled to
  20 immunity).
  21              Plaintiff’s myopic focus on the County’s investigations, decision making, and
  22 resulting personnel decisions, loses sight of what this lawsuit is about. Plaintiff’s
  23 repeated spoliation refrains also miss the mark. Under California law, there is no
  24 tort for spoliation. See Cedars-Sinai Med. Ctr. v. Superior Court, 18 Cal. 4th 1, 17-
  25 18 (1998) (“[T]here is no tort remedy for the intentional spoliation of evidence . . .
  26 .”). And Plaintiff knew the Deputy Defendants were told to delete the photographs
  27 before she filed this lawsuit.
  28              Moreover, the idea that deleting the photographs, preventing the harm
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   1 Plaintiff complains of, is spoliation makes no sense. [See Dkt. 46 at 7 (“Sheriff
   2 Villanueva’s conduct may have benefitted Plaintiff by making it less likely that
   3 those photos would be disseminated. . . . It defies common sense that Sheriff
   4 Villanueva’s instruction to delete the photos would somehow increase the risk of
   5 public dissemination of those very same photos or that Sheriff Villanueva’s conduct
   6 would cause Plaintiff additional emotional distress.”).]
   7         The accident was now close to 1.5 years ago, and there has been no public
   8 dissemination. Hypothetical harm is not a basis for a lawsuit. Nor is it a basis for
   9 “no stone left unturned” discovery against public entities and first responders.
  10         B.     Plaintiff Has Not Been Diligent
  11         To establish good cause to modify a scheduling order, Plaintiff must
  12 demonstrate that she has been diligent in conducting discovery. See Espinoza v.
  13 Ashe, No. 1:16-cv-00193-JLT, 2017 WL 1549948, at *5 n.1 (E.D. Cal. May 1,
  14 2017) (denying motion to amend scheduling order because plaintiff delayed more
  15 than six weeks from production of video footage which revealed officers’
  16 involvement in underlying incident to seek leave to amend scheduling order, and
  17 such delay “fails to support a determination that he has acted diligently”);
  18 Fernandes v. TW Telecom Holdings, Inc., No. 2:13-cv-2221-GEB-CKD, 2015 WL
  19 1874872, at *3 (E.D. Cal. Apr. 23, 2015) (denying motion to modify scheduling
  20 order because of the “several months ‘gap [between Plaintiff’s receipt of the new
  21 information and his filing of the motion to amended [sic] the scheduling order]
  22 shows a lack of diligence on his part’” and “[p]ermitting Plaintiff to now upend the
  23 scheduling order several months after Plaintiff clearly became aware of the facts that
  24 he could have used as a basis for [modifying the scheduling order] much earlier in
  25 the proceeding, would permit ‘the sort of disruption that Rule 16(b) was designed to
  26 prevent’” (first alteration in original) (citations omitted)).
  27         Plaintiff has not been diligent. Instead, Plaintiff has stalled the forensic
  28 examination for seven months, sought irrelevant and unnecessary discovery,
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   1 expanded the scope of discovery beyond what this case requires, engaged in
   2 nonsensical meet and confer efforts, and needlessly delayed setting depositions,
   3 conducting discovery, and even filing this Motion.
   4              A brief timeline underscores Defendants’ cooperation and Plaintiff’s lack of
   5 diligence:
   6                  November 16, 2020: the County sends Plaintiff a draft forensic protocol
   7                    to protect privacy rights and facilitate examination of phones to
   8                    confirm the photographs were deleted.
   9                  December 7, 2020: the County works with Plaintiff to promptly file a
  10                    motion to compel, based on an RFP it had received the day before, so
  11                    the IAB Report could be produced promptly.
  12                  January 6, 2021: the County produces the IAB Report and follows up
  13                    about the draft forensic protocol.
  14                  March 17, 2021: Plaintiff files the FAC, adding LACFD and the
  15                    Deputy Defendants.
  16                  March 22, 2021: the County produces the LACFD investigation
  17                    reports.
  18                  April 6, 2021: the County emails Plaintiff—”We are now in receipt of
  19                    multiple sets of inspection demands (all attached here), but have not
  20                    heard anything about the protocol we sent in November. We cannot
  21                    move forward with a forensic examination without a protocol in
  22                    place. Please let us know your thoughts on our draft (reattached here),
  23                    and feel free to send the protocol you mentioned in your March 10
  24                    email if you’d like us to consider your version. Let’s get this moving
  25                    forward.”
  26                  May 3, 2021: the County’s last email to Plaintiff regarding the forensic
  27                    protocol, asking for comments on the draft protocol sent in
  28                    November 2020 and suggesting the parties tee the issue up for the
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   1                Magistrate Judge “ASAP.”
   2               November 2020-Present: the County sends approximately 10 emails
   3                asking for comments on the forensic protocol.
   4               January 2021-Present: Defendants complete seven document
   5                productions containing 29,941 pages of documents.
   6 (Hashmall Decl. ¶ 16.)
   7         C.     Plaintiff Is Not Entitled To Fifty Depositions
   8         Plaintiff contends she needs six more months to complete discovery.
   9 Plaintiff’s Motion rests on the presumption that she will be permitted to take over
  10 50 depositions. (See Mot. at 1:26-2:1 (Plaintiff “cannot effectively depose the
  11 relevant LASD and LAFD personnel” under the current schedule); id. at 18:12-15
  12 (“Completing discovery by mid-August is also impractical because more than sixty-
  13 six witnesses have relevant knowledge. Although Plaintiff does not intend to
  14 depose all individuals with relevant knowledge, a substantial number of depositions
  15 will be necessary to investigate her claims . . . .”); id. at 20:8-11 (“[U]nder the
  16 current schedule [Plaintiff] would have a mere eight weeks to conduct upwards of
  17 45–50 important depositions while simultaneously conducting expert discovery and
  18 pushing forward the forensic examinations of numerous electronic devices.”). This
  19 argument fails for several reasons.
  20         First, Plaintiff is not entitled to 50 depositions. Under Federal Rule of Civil
  21 Procedure 30(a)(2)(A)(i), Plaintiff must obtain leave of court to take more than 10
  22 depositions, and must make a “‘particularized showing’ of the need for additional
  23 depositions.” Acosta v. Sw. Fuel Mgmt., Inc., No. 2:16 CV 4547-FMO (AGRx),
  24 2017 WL 8941165, at *7 (C.D. Cal. Sept. 19, 2017) (citation omitted). While that
  25 issue is not currently before this Court (or the Magistrate Judge), Defendants dispute
  26 that Plaintiff can make the “particularized showing” justifying the deposition of over
  27 50 witnesses. Regardless, Plaintiff has not sought Court approval for taking 50
  28 depositions, despite the fact that “[c]onsideration should be given at the planning
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   1 meeting of the parties under Rule 16(f) and at the time of a scheduling conference
   2 under Rule 16(b) as to enlargements or reductions in the number of depositions,
   3 eliminating the need for special motions.” Id. at *6 (citation omitted).
   4         Second, Plaintiff does not explain why she cannot complete all depositions in
   5 the four months between now and the discovery cutoff. According to the Motion,
   6 the overwhelming majority of the individuals Plaintiff plans to depose were
   7 identified in the IAB Report, which was produced on January 6, 2021. Plaintiff’s
   8 only explanation for why she has not taken the deposition of a single County
   9 employee identified in the IAB Report is to pass the buck to Defendants, arguing
  10 that their production has frustrated her efforts. (Mot. at 19:15-20:4.) But Plaintiff
  11 admits in her Motion that Defendants have produced “8,000 new records” since
  12 March, and plan to complete their production by the end of May. (Id. at 10:12-23.)
  13 That would leave Plaintiff nearly three months to conduct depositions with
  14 thousands of responsive documents, including the most relevant documents: the IAB
  15 Report and the LACFD internal investigations.
  16         Plaintiff’s argument that depositions cannot begin until document production
  17 is complete is wrong. Plaintiff cites only one case in support of this argument,
  18 Apple Inc. v. Samsung Elecs. Co., Ltd., No. C 11-cv-1846 LHK (PSG), 2012 WL
  19 762240, (N.D. Cal. Mar. 8, 2012). The court there held that a repeated pattern
  20 where the defendant would produce thousands of documents, including in Korean,
  21 “two days” before a deposition warranted relief: the re-deposition of several
  22 witnesses “for whom a substantial portion of custodial documents were produced
  23 with insufficient time to process and translate in advance of the deposition” Id. at
  24 *1, *3. That case does not support the proposition that no County employee
  25 depositions can go forward until all documents have been produced.
  26         An incomplete document production is not a basis to delay noticing
  27 depositions. See Ortega v. County of Los Angeles, No. CV 05-2246-JFW (RZx),
  28 2006 WL 8434703, at *3 (C.D. Cal. Jan. 31, 2006) (Walter, J.) (“Although Plaintiffs
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   1 attempt to place the blame for the delay in discovery on Defendants’ alleged failure
   2 to appropriately respond to Plaintiffs’ [written discovery] . . . any failure of
   3 Defendants to provide Plaintiffs with certain requested documents would not have
   4 prevented Plaintiffs from noticing the relevant depositions . . . .”), on
   5 reconsideration, No. CV 05-2246-JFW (RZx), 2006 WL 8434713 (C.D. Cal. Feb.
   6 24, 2006).
   7              Plaintiff has the documents she needs and plenty of time to complete
   8 depositions by August. Indeed, the County suggested coming up with a deposition
   9 schedule for the summer, but Plaintiff did not respond. (Hashmall Decl. ¶ 12.)
  10              D.    Discovery From The Deputy Defendants And LACFD Does Not
  11                    Justify Granting This Motion
  12              According to Plaintiff, discovery aimed at the Deputy Defendants and
  13 LACFD is “in its infancy for reasons outside of [Plaintiff]’s control.” (Mot. at
  14 15:10-16:19.) That is incorrect.
  15              Plaintiff has known about the Deputy Defendants’ relevant actions in this case
  16 since January 6, 2021, when she received the IAB Report. The IAB Report
  17 contained the Deputy Defendants’ interview transcripts, and all information the
  18 County gathered in investigating this matter.
  19              With respect to LACFD, Plaintiff’s statement that she did not learn of
  20 LACFD employees’ potential involvement in this matter until the internal
  21 investigation reports were produced is false. Plaintiff served a deposition notice on
  22 an LACFD employee because of his potential involvement in this case in
  23 February 2021. For unknown reasons, Plaintiff has not pursued that deposition. As
  24 for the investigation reports, the County produced them on March 22, 2021—just
  25 one week after Plaintiff added LACFD to the FAC. (Hashmall Decl. ¶ 8.) The
  26 County did that in the interest of transparency; Plaintiff did not serve any actual
  27 discovery on LACFD until April 5, 2021. (Id.)
  28              Plaintiff does not explain why she cannot complete discovery with respect to
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   1 the Deputy Defendants and LACFD in four months. If there is a time crunch, it is of
   2 Plaintiff’s own making.
   3         E.     Plaintiff Delayed Filing This Motion
   4         Plaintiff’s delay in this case extends this Motion. An unnecessary delay
   5 between learning new information justifying a motion to amend a scheduling order
   6 and the filing of said motion demonstrates a lack of diligence under Rule 16. See,
   7 e.g., Fernandes, 2015 WL 1874872, at *3 (“The several months ‘gap [between
   8 Plaintiff’s receipt of the new information and his filing of the motion to amended
   9 [sic] the scheduling order] shows a lack of diligence on his part, which cunctation is
  10 the antithesis of the finding of good cause contemplated under Rule 16.’” (alteration
  11 in original) (citation omitted)); Genentech, Inc. v. Trs. of Univ. of Pa., No. 10-CV-
  12 02037-LHK, 2011 WL 4965638, at *2 (N.D. Cal. Sept. 16, 2011) (four-month delay
  13 between discovering information and filing motion did not demonstrate diligence).
  14         Plaintiff contends the January 6, 2021 production of the IAB Report was one
  15 of the two “events necessitating modification.” (Mot. at 16:28-17:1.) The other
  16 event was the March 22, 2021 production of LACFD internal investigation reports.
  17 (Id. at 17:2.) The IAB Report is the main driver of the Motion. According to
  18 Plaintiff, the IAB Report included “the names of dozens of LASD personnel and
  19 other witnesses with knowledge of both the underlying misconduct and the
  20 department’s departure from normal internal investigation protocols in responding
  21 to it.” (Id. at 8:24-9:2.)
  22         The Motion was not filed until four months after the IAB Report was
  23 produced (on January 6, 2021). Plaintiff does not explain why she needed more
  24 than four months to determine that the scope of discovery was “more expansive than
  25 was anticipated at the initial scheduling conference.” (Id. at 2:5-6.)
  26         Plaintiff was not diligent. She cannot demonstrate good cause under Rule 16.
  27 Plaintiff’s cases only serve to underscore why modifying the scheduling order is not
  28 warranted here. In Muhammad v. California, the court granted plaintiff’s motion to
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   1 reopen discovery because (i) “no trial date ha[d] been set,” (ii) defendants failed to
   2 “provide any substantive responses to Plaintiff’s discovery requests,” and
   3 (iii) defendants did not produce “even the most basic discovery requested.” No. CV
   4 18-4017 JAK (SS), 2019 WL 6315536, at *7 (C.D. Cal. Sept. 19, 2019) (emphasis
   5 added). Muhammad has no application here, where a trial date has been set
   6 (November 16, 2021) and Defendants have produced over 20,000 pages of
   7 documents in response to Plaintiff’s 126 RFPs.
   8              In MultiCraft Imports Inc. v. Mariposa USA, Inc., meanwhile, the court
   9 faulted defendant for waiting “four months” to provide any information sought in
  10 the first discovery request, meaning plaintiff could not amend its pleading “before
  11 the expiration of the amendment deadline.” No. CV 16-3975 DMG (AJWx), 2017
  12 WL 5665214, at *2 (C.D. Cal. June 8, 2017). Unlike in MultiCraft, Plaintiff had
  13 virtually all of the relevant information she needed within two months of removal to
  14 this Court. The County even stipulated to give Plaintiff more time to amend her
  15 complaint so she could have the benefit of the information in the IAB Report. She
  16 used that information to add new defendants. MultiCraft has no application here.
  17              F.    Defendants Would Be Prejudiced If The Motion Is Granted
  18              While the Court’s inquiry under Rule 16 ends with a determination that
  19 Plaintiff was not diligent (she was not), the potential prejudice to Defendants also
  20 counsels in favor of denying the Motion. This straightforward case, with undisputed
  21 facts, has turned into a fishing expedition that is taking first responders away from
  22 their jobs—and subjecting them to public harassment and threats. Defendants are
  23 eager to have their day in Court and put an end to this.
  24 V.           CONCLUSION
  25              Defendants respectfully request that the Court deny the Motion in its entirety.
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   1 DATED: May 17, 2021                     MILLER BARONDESS, LLP
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   3
                                             By:    /s/ Mira Hashmall
   4
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   5                                                Attorneys for Defendants
   6                                                COUNTY OF LOS ANGELES, LOS
                                                    ANGELES COUNTY FIRE
   7                                                DEPARTMENT, JOEY CRUZ, RAFAEL
   8                                                MEJIA, MICHAEL RUSSELL, and
                                                    RAUL VERSALES
   9
  10
       DATED: May 17, 2021                   OFFICE OF THE COUNTY COUNSEL
  11
  12
  13                                         By:    /s/ Jonathan C. McCaverty
  14                                                JONATHAN C. McCAVERTY
                                                    Attorneys for Defendant
  15
                                                    LOS ANGELES COUNTY SHERIFF’S
  16                                                DEPARTMENT
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